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                                  UNITED STATES DISTRICT COURT                             UNDER
                                         DISTRICT OF OREGON
                                                                                             SEAL
                                          PORTLAND DIVISION



UNITED STATES OF AMERICA                                   3: 18-cr-00319-JO

                     v.                                    SUPERSEDING INDICTMENT

MARK LEROY DENCKLAU,                                     . 18 u.s.c § 1962(d)
EARL DEVERLE FISHER,                                       18 U.S.C. §§ 1959(a)(l) and 2
KENNETH EARL HAUSE,                                        18 U.S.C. §§ 1201(a)(l) and 2
RYAN ANTHONYNEGR.INELLI,                                   18 U.S.C. §§ 1201(a)(l) and 1201(c)
                     and
JOSEPH DUANE FOLKERTS,                                    Forfeiture Allegation


                          Defendants.                     ***UNDER SEAL***



                                    THE GRAND JURY CHARGES:

                                                Background·

        At all times relevant to this Superseding Indictment:.

        1.           There existed in the District of Oregon, and elsewhere, a criminal organization,

namely, the "Gypsy Joker Outlaw Motorcycle Club," which constituted an enterprise, as defined

by Title 18, United States Code, Sections 1961(4) and 1959(b)(2), that is, a group of individuals

associated in fact, which was engaged in, and the activities of which affected, interstate and

foreign commerce._ The enterprise constituted an ongoing organization whose members

functioned as a continuing unit for a common purpose of achieving the objectives of the

.enterprise.




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        2.      The Gypsy .Joker Outlaw Motorcycle Club [hereinafter referred to as "GJOMC"]

 was an "outlaw" motorcycle organization comprised of individual chapters located in cities

 throughout Oregon and Washington, including Klamath Falls, Portland, Salem, Seattle, Spokane,

 and the Tri-Cities (Kennewick).

        3. .    Each chapter.bad officers, to include a president, vice-president, treasurer,

 sergeant at arms, and other general members. The chapters ultimately fell under the authority of

 the national president, also known as "the Wiz." Criminal activities of the GJOMC and their

 support clubs were often committed at the direction of the national and chapter officers .

. Associates ;md members followed a written code of conduct which identified the GJOMC as a

 "I%," or outlaw motorcycle club. Violations of the code resulted in fines, probation, expulsion, ·

 a new prospecting period, or acts of violence against the violator.

        4.      Membership in the GJOMC was available only to men over the age of 21. The

 GJOMC excluded African Americans, law enforcement officers, homosexuals, and intravenous

 drug users from membership. Members were required to own an American made motorcycle.

        5.      Full membership in the GJOMC is also known as "patched" status. Members of

 the GJOMC are "patched" as a formal method of identifying themselves and their level of

 participation in the GJOMC. "Patched" status is a reference to the GJOMC three-piece logo

 patch that only GJOMC members were permitted to wear.

        6.     · 'The vestments denoting membership in the GJOMC, referred to as "cuts" or

 "colors," included a leather vest with a patch depicting the club emblem, a court jester known as

 "Simon." The "Simon" emblem· was surrounded by patches called a top "rocker" bearing the ·

 words GYPSY JOKER and a bottom "rocker" identifying the nationality of the member (U.S.A.,

 Germany, or Australia). The vests also displayed other symbols including a "I %er" in a



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diamond, a 5-year member patch, and "In Memory" patches to recognize deceased members ..

The "1 %" designation is in response to a proclamation issued in the 1940s by the American.

Motorcycle Association that ninety-nine percent of persons in motorcycle clubs were law-

abiding citizens. The "l %er" patch signifies. that the GJOMC members were in the other 1%;

that is, they were not law-abfding citizens.

       7.      Gaining membership in the GJOMC involved a specific process. It started with

participation in the GJOMC as an associate or ''hang around," and was followed by a prospecting
                                  '   '                        ..                       '




period before full membership
                       . .
                              was granted. During this period,
                                          .                 . prospective members, known as·

"prospects," were expected'to assistthe GJOMC with all of its activities, including those

activities that were criminal in nature. GJOMC prospects were required to wear vests displaying

patches denoting their prospect status.       rn· order for a p~ospect to become a member, he was
required to prospect for a minimum of six months; to attend a meeting in each chapter with his

sponsor; and to ha".'e 100% support from his GJOMC chapter membership. The.GJOMC

determined whether a six-month prospecting term was: sufficient for each prospect or whether to

extend the prospecting period. At the end of the prospecting period; the GJOMC held a vote of

patched members to determine. whether to give patched, full member status to the prospect.·

       8.      GJOMC members paid dues to their local chapter, a percentage of which went to

the national organization. Members who earned money from criminal activity were expected to

contribute some of those earnings to the.GJOMC .

      . 9.     The GJOMC oversaw several "support clubs" in Oregon and Washington,

including the
           .
              Road Brothers Northwest Motorcycle Club, Solutions Motorcycle .Club, Northwest

Veterans Motorcycle Club, High-Side Riders, and the Freedoll'1: Fellowship Motorcycle Club.

Support club members all paid monetary dues to their own clubs, a percentage of which went to



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                              [,

the GJOMC. Support club members conducted criminal activities in support of, and in

association with, the GJOMC and served as a source for new membership. Support club

members were permitted to wear a patch on their vests to advertise their allegiance· to the

GJOMC, including patches that read "Simon Sez."

       10.     The GJOMC owned real and personal property, and conducted regular meetings

Qf its officers and general members. The GJOMC often decided various issues by voting.

Members attended weekly ;meetings called "church" at their chapter clubhouses. Members also

participated in several "required" motorcycle runs every year, including New Years, Simon's

Birthday (Aprii 1), _Memorial Day, July 4 Summer Run, and Labor Day. These runs often started

in one state and ended in another. Activities of the GJOMC frequently required interstate travel.

       11.     Members and associates of the GJOMC would commit, and threaten to commit, .

acts of violence to maintain membership.and discipline within the GJOMC and to intimidate

rivals or non-members. Participation in criminal activity by a member or associate increased the

respect accorded to that member or associate, and resulted in that member or associate

maintaining or increasing his status and position within the enterprise. Likewise, a member's or

associate'srefusal to carry out orders from higher-ranking members, or refusal to participate in

climinal activity or a<:;ts of violence, decreased the respect accorded to that m~ber or associate,

arid resulted in decreasing that member's or associate's status in the GJOMC and _subjected the

member or associate to acts or threatened acts of violence.

                                    Purposes of the Enterprise

       12.     The purposes· of the enterprise included the following:




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                   a.     Preserving, promoting, and protecting the power, territory, and profits of

 the enterprise through the use of intimidation, violence, threats of violence, assaults, witness

 tamp~g and retaliation, kidnapping, and murder;

                  b.      Enriching the members and associates of the enterprise through, among

 other things, extortion, robbery, and distribution of narcotics;

                  c.      Promoting and enhancing the enterprise, and the reputation of the

 enterprise, through its. members' and associates'
          '                                 .
                                                   activities, including, but not limited
                                                                    '                  . to,
. robberies, extortion, drug distribution, stealing motorcycles and trafficking in stolen motorcycles,

 and other criminal activities; ·

                  d.      Keeping victims, potential victims, potential witnesses, and community

 members in fear of the enterprise and in fear of its members and associates through threats of

 violence and violence;

                  e.      Extorting others through fear and threats of violence; and

                  f.      Providing assistance to other members and associates who committed

 crimes for and on-behalf of the enterprise; and providing assistance to other enterprise members

 and associates, in qrder to hinder,. obstruct, and prevent law enforcement officers from

 identifying the offender, apprehending the offende:i;, and trying to punish the offender.

                                 Manner and Means of the Enterprise

        13.       The manner and means used by the enterprise to further the goals of the ·enterprise

 and achieve its purposes included, but was not limited to, the following: ·

                  a.      Members of the enterprise and their associates were expected to learn and

 abide by the rules and code of conduct of the enterprise, including wearing required articles of

 clothing, an4 discipline would be meted out to members who broke these rules;



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               b. ·    Members of the enterprise and their associates used, attempted to use, and

conspired to use extortion, the proceeds of which were used to benefit the enterprise and its

members;

               c.      Members and asso_ciates of the enterprise committed, attempted, ·

conspired, and threatened to commit acts of violence, including murder, assaults, robbery, and

extortion, to protect and expand the enterprise's criminal operations;

               d.     Members and associates of the enterprise promoted a climate of fear

through intimidation, violence, and threats of violence;

               e.     Members and associates of the enterprise trafficked in methamphetamine

and marijuana to enrich the enterprise and its members; and

               f.     Members and associates of the enterprise extorted other motorcycle

organizations to pay money to the GJOMC, upon fear and threats of violence.

                                            COUNTl
                                   (Racketeering Conspiracy)
                                     (18 u.s.c. § 1962(d))

       14.      Beginning on a date unknown, but starting no later than the year 2003, and

continuing to on or about the date of this Superseding Indictment, in the District of Oregon and

elsewhere, the defendants

                                 MARK LEROY DENCKLAU,
                                  EARL DEVERLE FISHER, ·
                                  KENNETH EARL HAUSE,
                               RYAN ANTHONY NEGRINELLI,

                                           and
                                 JOSEPH DUANE FOLKERTS,

and other persons n.9t named in this Superseding Indictment, being persons eriiployed by and

associated with the GJOMC, which enterprise is described more fully in paragraphs 1-13, which



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was engaged in,.and the activities of which affected, interstate and foreign commerce, did .

knowingly, willfully and unlawfully combine, conspire, confederate, and agree with one another

to violate Title 18, United States Code, Section 1962(c); that is, to conduct and participate,

directly and indirectly, in the conduct of the affairs of said enterprise through a pattern ,of

racketeering activity, as defined in Title 18, United States Code, Section 1961(1) and (5),

consisting of:

       a. Multiple threats and acts involving:

                 (1) Murder, in violation of Oregon Revised Statutes, Sections 161.450, 161.155,

                     161.405,.and 163.115, and Revised Code of Washington, Sectjons 9A.28.040

                    9A.08.020, 9A.28.020, and 9A.32.030;

                 (2) Kidnapping, in violation of Oregon Revised Statutes, Sections 161.450,

                     161.155, 161.405, 163.235, and 163.225; and Revised Code of Washington,

                    Sections 9A.28.040,'9A.08.020, 9A.28.020, 9A.40.020, and 9A.40. 030; .

                 (3) Robbery, in violation of Qregon Revised Statutes, Sections 161.450, 161.155,

                    161.405, 164.415, and 164.405; and·Revised Code ofWas~gton, Sections

                    9A.28.040, 9A.08.020, 9A.56.200, and 9A.56.2IO; and·

                 (4) Extortion, in violation of Oregon Revised Statutes, Sections 161.450, 161.155,

                    161.405, and 164.075;

       b. Multiple offenses involving:

                 (1) Drug trafficking, in violatiof! of Title 21, Unite4 States Code, Sections 841

                    and 846; and

       c. Multiple acts indictable under the following provisions of federal law:




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                (I) Title 18, United States Code, Section 15.12 (tampering with a witness, victim,

                   or informant).

                                            Overt Acts

        In furtherance of the conspiracy, and to affect the object and purposes thereof, defendants

 MARK LEROY DENCKLAU, EARL DEVERLE FISHER, KENNETH EARL HAUSE, RYAN
 ANTHONYNEGRINELLI,                                         JOSEPH DUANE FOLKERTS. and
                     .                           .

 others known and ~own, committed various overt acts, including~ but not limited to, the

 following: ·

    . · 15.     On or about August 11, 2003, GJOMC members and an associate drove to Victim

 I's residence in Linn County, Oregon and a GJOMC member-hit Vic~im I over the head wi~ a

large crescent wrench, causing injury and bleeding, and.th~ other GJOMC members and

associate assaulted Victim I and took Victim I's vehicle from him.
                                                 .                       .
        16.,    On or about September 25, 2008, defendant KENNETH EARL HAUSE

summoned an Oregon Veterans Motorcycle Association (OVMA) member to a meetj.ng at the

clu,bhouse of the Northwest Veterans Motorcycle Club (NWVMC), which is a GJOMC support

club.

        17.     On or aboutSeptember 25, 2008, defendant KENNETH EARL HAUSE wore

large rings or brass knuckles when'he punched an OVMA member, resulting in the.OVMA

member losing teeth and having to go to the hospital to seek medical attel}tion. HAUSE told the

OVMA member after· assaul~g him that h~ had, "30 days to shut [OVMA] down," and that

· OVMA members w~re no longer permitted to wear their patches.

        ts:     On or about September 25, 2008, when defendant KENNETH EARL HAUSE

assaulted ail OVMA member, another 9JOMC member assaulted another OVMA member..



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         19.    · On or about September 25, 2008, defendant KENNETH EARL HAUSE told the

 OVMA members that if they told anyone about the assault, that HAUSE would kill them.

         20..    On or about September 25, 2008, after the assault of the OVMA members,

 defendant KENNETH EARL HAUSE told two NWVMC members to not let the OVMA

 members leave the NWVMC clubhouse for at least fifteen minutes, which gave HAUSE and

 other GJOMC members time to leave and distance themselves from the NWVMC 'clubhouse.

         21.     On or about December 27, 2008, defendant EARL DEVERLE FISHER, along
                                   .                                 .                             .
 with GJOMC members. and associates, assaulted individuals at Bar 181 in Portland, Oregon after

 learning that one of the individuals had mentioned the GJOMC to the police. GJOMC members

. and associi:i,tes hit one person in the face and FISHER struck another person over the head with a

 sap weapon, causing the person to lose consciousness.

        22.     In or around December of 2008, a GJOMC member distributed methamphetamine

 to a GJOMC associate.

        23.      On or about January 5, 2009, a GJOMC member appro~ched an OVMA member

•at The Spot bar in Mollala, Oregon, and proceeded to punch the OVMA member in the face; hit

 him in the backofthe head, and kick him in the ribs because the OVMA did not follow

 defendant KENNETH EARL HAUSE' s order to disband.

        24.     In or around 2009, defendant KENNETH EARL HAUSE; along with another

 GJOMC member, possessed with the intent to distribute approximately 100 bricks of

 methamphetai:nine stored in milk crates in a trailer.

        25.     In or around 2009, defendant KENNETH EARL HAUSE distributed

 methamphetamine to a GJOMC associate during a "poker run."




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          26.   In or about April or May of2009, a GJ_OMC member saw an OVMA member

  wearing his OVMA patch at an event in Salem, Oregon, and approached the OVMA member .

  asking him to go outside.. Once outside, the GJOMC member told him to ''take off your patch,"

  and the OVMA member.refused to remove his patch at which _time the GJOMC member and at

  least four additional GJOMC members or associates assaulted the OVMA member. ·

        · 27.   In or about April or May of200?, _GJOMC members.followed OVMA members

  as they rode their motorcycles out of Salem, Oregon, after a GJOMC piember assaulted an

  OVMAmember.

         28.    In or around the summer of 2009, defendant KENNETH EARL HAUSE

  distributed methamphetamine to a GJOMC associate during the "sutnI?er run."

         29.    In or around the summer of 2009, defendant MARK LEROY DENCKLAU

  possessed coc~ine, mushrooms, and ecstasy for distribution during the "summer run."

         30.    In or arourid mid-2009, a GJOMC member distributed methamphetamine to a

  GJOMC associate at the Dancin' Bare bar in Portland, Oregon, and crushed the ·

·. methamphetamine on the front fonder of a motorcycle to prepare the methamphetamine for

  ingestion.

         31:    In or around 2009, during Run 21 in Vernonia, Oregon; defendant MAR.K

 LEROY DENCKLAU, along with other ·GJOMC members and associates, instructed members

  of OVMA that they were not permitted to wear their OVMA patches and proceeded to cut two of

 the OVMA me~bers' patches off their vests while two other OVMA members handed over their .

  OVMA patches to the GJOMC members and associates. An additional OVMA member arrived

  wearing an OVMA patch, DENCKLAU punched the OVMA member, and other OVMA




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members removed the fifth member's patch and handed it over to DENCiq.,AU who took it with

him when he left.

        32.       On or about July 26, 2009 in Vernonia, Oregon, defendants KENNETH EARL

HAUSE and MARK LEROY DENCKLAU, along with GJOMC members, told OVMA

members to remove their patches, and DENCKLAU punched one of the OVMA members

causing him to fall to the ground, at which time a GJQMC member pulled out a knife to remove

the patch of an OVMA member, but was told by DENCKLAU to stop.

        33.       fa or: about 2010, defendant K.J;:NNETH EARL HAUSE paid a GJOMC associate

$500 to assist HAUSE with a delivery of a large quantity of methamphetamine to the GJOMC

Portland clubhouse and HAUSE told the GJOMC associate that if anything happened, HAUSE

would talce the blame.

        34.       In or about and between 2010 and 2012, defendant KENNETH EARL HAUSE

delivered a baseball-sized ball ofmethamphetamine to another GJOMC m.emberfor

redistribution.

        35.       On or between July 21 and August 12, 2011, a GJOMC member transported a

stolen Harley Davidson Road King (1998) with an altered VIN number from Salem, Oregon to

Sturgis, South 'Dakota..

        36.       In or about the summer of 2012, defendant MARK LEROY DENCKLAU ordered

a GJOMC member to show up to the run they were on because defondant KENNETH EARL

HAUSE wanted to talk to the GJOMC member.

        37.       In or about the summer of 2012, four GJOMC members went to another GJOMC

member's location in Moscow, Idaho and ordered him to come with them because KENNETH

EARL HAUSE wanted to see the GJOMC member.



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        38.        In or about the summer of 2012, on the orders of defendant KENNETH HAUSE,

tbree GJOMC members transported another GJOMC member in a vehicle from Moscow, Idaho,

to the GJOMC clubhouse in Lostine, Oregon, where they spent the night.

       39.         In or about the summer of 2012, while at the GJOMC clubhouse in Lostine,

Oregon, a GJOMC member punched another GJOMC member in the eye on the orders of

KENNETH HAUSE.

       40.         In or about the summer of 2012, after spending the night at'the GJOMC Lostine

clubhouse, two GJOMC members transported another GJOMC member to the Tri-Cities

clubhouse in Kennewick, Washington on the orders of KENNETH EARL HAUSE, and stopped

at a gas station along the way. When they arrived, an additional GJOMC member and two

GJOMC associates were present at the clubhouse.

       41.         In or about the summer of 2012,.defendant KENNETH EARL HAUSE assaulted

a GJOMC member with a bag filled with heavy objects, knocking him unconscious at the

GJOMC Tri-Cities clubhouse.

       42.         In or about the summer of.2012, atthe GJOMC Tri-Cities clubhouse, defendant

KENNETH EARL HAUSE punched, kicked, and stomped a GJOMC member with HAUSE's

heavy motorcycle boots knocking out several of the GJOMC member's teeth, while telling the

GJOMC member, "you're no longer a member."

       43.         In or about the summer of 2012, at the GJOMC Tri-Cities clubhouse, GJOMC

members and associates punched and struck another GJOMC member, took the GJOMC.
              ,'




member's cut, and tattooed a large "X" over the GJOMC patch tattoo the GJOMC member had

across his back.




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        ·44.   In or about the summer of 2012, a GJOMC member bragged to a GJOMC

associate that the GJOMC member had participated in tattooing over another GJOMC member's

GJOMC pa,tch tattoo and that during the tattooing had dug deep into the other GJOMC member's

skin.

        45.    In or about the summer of 2012, after the assault of the GJOMC member, at least

six of the teeth knocked out of the GJOMC member's mouth were placed ont9 the bar at the

GJOMC Tri-Cities clubhouse.

        46.    In or about the summer of 2012, after the assault and tattooing of a GJOMC

member, another GJOMC member told the GJOMC member that had been assaulted and

tattooed that, "Ken will kill you if you don't give up your motorcycle."

        4 7.   In or about the summer of 2012, after being told that defendant KENNETH

EARL HAUSE would kill him ifhe didn't give up his motorcycle, the GJOMC member who had

been assaulted and tattooed told another GJOMC member that he was at a bar and.that he had his

motorcycle at the bar. Defendant EARL .DEVERLE FISHER
                                               .      and another GJOMC member.

came to that location_ and took the motorcycle. ·

        48..   In or about the SlµDfiler of20l2, sometime after defendants EARL DEVERLE

FISI:IBR and a GJOMCmember took another GJOMC member's motorcycle, an additional

GJOMC member confronted the GJOMC member whose motorcycle had been taken at Jody's

bar in Portland, Oreg-011, and told-the GJOMC member his other motorcycle was being taken as

well.

        49.    In or about July of 2012, three GJOMC members ordered another GJOMC

member to assault a female associate because the three GJOMC members thought she was

disrespecting the GJOMC by dancing with members of the Mongols Motorcycle Club.



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       50.     On"or about November 4, 2012, GJOMC members assaulte4 GJOMC associate

Jackie Ford in the street outside the Seattle GJOMC clubhouse by slammin·g her head into the·

curb, resulting in her losing consciousness, not having a.pulse, and having to be brought back to

life by police who responded to a 911 call reporting the assault and p13rformed CPR.

       51.     In or around November or December of 2012, defendant KENNETH EARL

HAUSE arid a GJOMC member went to another
                                      .   GJOMC member's
                                                     .   home and KENNETH

EARL HAUSE told the GJOMC member that they were taking his GJOMC cut forsafekeeping

while he was serving a prison sentence.

       52.     On or about December 7, 2012, two GJOMC members who were armed with

firearms wentto another GJOMC member's residence to locate the GJOMC member.

       53.     On or about December' 7, 2012, two GJOMC members shot their :firearms at

another GJOMC member who returned fire with a firearm.

       54.   . In or around December of 2012, defendant KENNETH EARL HAUSE's GJOMC

prospect and others forced a GJOMC associate out of the GJOMC associate's home by the·

GJOMC member pushing the GJOMC associate down the stairs and locking the GJOMC

associate o~tside in the snow, without any shoes.

       55.   · In or around December of 2012, in the days after defendant KENNETH.EARL

HAUSE's GJOMC prospect and others forced a GJOMC associate out of the GJOMC

associate's home, the GJOMC associate discovered that a motorcycle and other belongings were

missing from the GJOMC assbciate's home.

       56.    In or around December 0{2012, defendant KENNETH EARL HAUSE told a ·

GJOMC associate that he would see what he could do about returning the GJOMCassociate's

motorcycle, but HAUSE never returned the motorcycle to the GJOMC associate.



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       57. ·    During 2014 and 2015, defendants/MARK LEROY DENCKLAU and EARL

DEVERLE FISHER grew marijuana plants and sold the plants eachmonth to the son ofa

GJOMC member. DENCKLAU was paid $3,000 each month for providing marijuana plants.

       58.     , On or about June 2, 2014, two GJOMC members rode in a vehicle driven by a

GJOMC associate to the location of Robert Huggins for the purpose of bringing Huggins to the

GJOMC Portland clubhouse.

       59.      On or about June 2, 2014, after driving to Robert Huggins' location, the GJOMC

members told Robert Huggins he needed to come with them, and that "Boss says come now."

       60.      On or about June 2, 2014, a GJOMC associate drove a vehicle to the GJOMC

Portland clubhouse while two GJOMC members sat in the back seat of the vehicle on both sides

of Robert Huggins, prev~nting Huggins from exiting the vehicle. The GJOMC associate drove

the vehicle to the GJOMC clubhouse in Portland, Oregon, and dropped off the two GJOMC

members and Robert Huggins at which time the two GJOMC members physically held the arins

of Robert Huggins, preventing him from escaping, and escorted Huggins inside the Portland

GJOMC clubhouse.

       61.      On or about June 2, 2014, a GJOMC member called a GJOMC associate and

ordered the GJOMC associate to come to the GJOMC clubhouse in Portland, Oregon.

       62.      On or about June 2, 2014, when the GJOMC associate arrived at the GJOMC

clubhouse in Portland, Oregon, defendant MARK LEROY DENCKLAU told th~ GJOMC

associate that they were going to take a ride, so the GJOMC associate got in a vehicle with

DENCKLAU who told the GJOMC assoc;iate that .the GJOMC associate WcJ.S going to have to

choose the club or Robert Huggins.




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            63 .   On or about June 2, 2014, after the GJOMC associate told DENCKLAU that the

 GJOMC associate chose Robert Huggins and·not the club, a GJOMC member informed the

  GJOMC associate that they were keeping the Dodge Durango that the GJOMC associate had

 driven to the GJOMC clubhouse~ The GJOMC associate perceived this as a demand, and handed

·. over the keys because the GJOMC associate feared suffering physical violence.

            64.    On or about June 2, 2014, a GJOMC associate received panicked messages from

 Robert Huggins who told her he needed $5,000 to pay the GJOMC. When the GJOMC associate

 arrived at the GJOMC clubhouse.in Portland, Oregon, defendant MARK LEROY DENCKLAU

 told the GJOMC associate that they were going to take a ride together, so the GJOMC associate

 got in a vehicle with DENCKLAU who told the GJOMC associate that the GJOMC associate

 was going to have to choose - the club or Robert Huggins.

            65.    On or about June 2, 2014, after the GJOMC ass~ciate told defendant MARK

. LEROY DENCKLAU that the GJOMC associate chose Robert Huggins and not the club,
                                                      .                                 .
· DENCKLAU promised the GJOMC associate that for $3,500, Huggins would not be .hurt
                                                                             }

 further.

            66.    On or ab.out June 2, 2014, three GJOMC members helped Robert Huggins into a

·GJOMC associate vehicle after Huggins had been badly beaten at the GJOMC clubhouse in

 Portland, Oregon.




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           68.     In or around June of 2014, defendant EARL DEVERLE FISHER told a GJOMC

associate that defendants MARK LEROY DENCKLAU, FISHER, and another GJOMC member

assaulted Robert Huggins at the Portland GJOMC clubhouse resulting in serious injuries to

Huggins. FISHER explained that a GJOMC associate was told to come to the clubhouse to pick

up Huggins because he was badly beaten.

           69.     In or around June of 2014, defendant MARK LEROY DENCKLAU told           a
GJOMC associate that DENCKLAU kept Robert Huggins' motorcycle, and traded a separate

motorcycle to the GJOMC in exchange.

           70.     In or about July 2014, a GJOMC associate stole a "Dyna" motorcycle in

Vancouver, Washington, but was told by a GJOMC member that he had to return the motorcycle

because the motorcycle belonged.to an associate of the GJOMC and was, therefore, protected.

           71.     On or about October 25, 2014, a GJOMC member transported one pound of

methamphetamine in his motorcycle saddle-bags to a mechanic shop connected to the RBMC

clubhouse in Centralia, W ashingto:ti and sold the methamphetamine for five or six thousand

dollars.

           72. 1   On or about June 18, 2015, defendant EARL DEVERLE FISHER told a GJOMC

associate that the GJOMC was looking for Robert Huggins because Huggins had robbed the

home and girlfriend of defendant MARK LEROY DENCKLAU, the president of the Portland

chapter of the GJOMC.

           73.     On or about June 30, 2015, a GJOMC associate located Robert Huggins at a

residence in Portland, Oregon, and informed defendants MARK LEROY DENCKLAU and

EARL DEVERLE FISHER and other GJOMC members and associates where Robert Huggins

was located.



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                                  .       .                                                    .
      . 74.    On or about June 30, 2015, defendants MARK LEROY DENCKLAU, EARL

DEVERLE FISHER, RYAN ANTHONY NEGRINELLI, and other GJOMC members and·

associates, ·went to Robert Huggins': location and assaulted and kidnapped Robert Huggins from

in front of a residence in Portland, Oregon. Defendant EARL DEVERLE FISHER and another

GJOMC member were iri a separate vehicle nearby.

        75.    On or about
                      .    June 30, 2015, defendants MARK LEROY
                                                              . DENCKLAU,
                                                                    ..    RYAN

ANTHONY NEGRINELLI, and other GJOMC members and assqciates transported Robert

Huggins from Portland, Oregon to Woodland, Washington in a Chevrolet Suburb~ that

belonged to a GJOMC associate, while defendant EARL DEVERLE FISHER and GJOMC        a
associate traveled in separate vehicles to Woodland, Washington. Defendants MARK LEROY·
                 .                                         .
DENCKLAU, RfAN ANTHONY NEGRINELLI, and others met co-defendants

                      and JOSEPH DUANE FOLKERTS at the ARCO Station located off the I-

5 exit for Woodland, Washington.

        76.    On or about J~e 30.and July 1, 2015, defendants MARK LEROY DENCKLAU,

EARL DEVERLE FISHER, RYAN ANTHONY NEGRINELLI,

JOSEPH DUANE FOLKERTS, and others, on the orders of DENCKLAU, assaulted and
              .                                                   .
tortured Robert Huggins in Woodland, Washington, resulting in the death of Robert Huggins.

     · · 77.   Between April of2016 and June of 2018, while incarcerated, defendants MARK

LEROY DENCKLAU and EARL DEVERLE FISHER told a GJOMC associate to be nice to a

female associate witness in the case, to encowage her not to show up as a witness for trial.

        78.    Between April of 2016 and June of 2018, while incarcerated, defendant EARL

DEVERLE FISHER asked a GJOMC associate if money would prevent the female associate

witness from testifying.



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         79..    In or about 2017 and 2018~ a GJOMC member sold, .on a front basis, one-half to

 one pound quantities of methamphetamine from GJOMC property for redistribution.

         80. · In or about and between May and June of 2018, defendant MARK LEROY

 DENCKLAU attempted to recruit an inmate in the Multnomah County Detention Center to

· become a GJOMC member and expla_ined to .the inmate that GJOMC members sell                  /



 methamphetamine to make money and that some GJOMC members were able to make a living

 based on their methamphetamine sales. ·

        · 81.   In or about and between May and June of 2018, defendant MARK LEROY

 DENCKLAU offered an inmate monetary consideration as payment for the inmate to kill an

 incarcerated GJOMC associate. DENCKLAU suggested that they make two knives for the

 inmate to use in order to stage the killing to look like self-defense.

         82.    On or about July 11, 2018, while incarcerated, defendant EARL DEVERLE

 FISHER possessed hand-written correspondence between himself and fellow inmate defendant

 MARK LEROY DENCKLAU. In these notes, defendants FISHER and DENCKLAU discussed

 the 2014 beating of Robert Huggins, the taking of his property, and his subsequent murder.

        83.     On or about July 1, 2015, defendant MARK LEROY DENCKLAU wrote to

 defendant EARL DEVE;RLE FISHE~, "if we're both hoping to be in a situation.where we can

 testify in front of the jury, our testimony needs to be. similar." In the letters, DENCKLAU

 cautioned FISHER to make sure the letters were, "destroyed and gotten rid of. The last thing we

 ne_ed is something like that coming back to haunt us."

        84.     On or about July 19, 2018, a GJOMC member sold distribution quantities of

. ,methamphetamine from the GJOMC clubhouse in Spokane Valley, Washington.




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         85.      On or about October 12, 2018, a GJOMC member sold distribution quantities of

  methamphetamine from GJOMC/RBMC property in Kennewick, Washington.

        · 86. ·   On or about October 17, 2018, a GJOMC member sold distribution quantities of

  methamphetamine from the GJOMC clubhouse in Spokane Valley,.Washington.

         87.      On or about October 18, 2018, a GJOMC member sold distribution quantities of

  methamphetamine and heroin from GJOMC/RBMC property in Kennewick, Washington.

         88.      On or about October 26, 2018, afthe GJOMCIRBMC property in Kennewick,

  Washington, a GJOMC member possessed methamphetamine, heroin and $2,600 in cash, which

  included bills used to purchase methamphetamine from the GJOMC member earlier that week,

  along with a GJOMC cut, silver GJOMC rings, GJOMC branded clothing, GJOMC belt buckles,

  and notes pertaining to the'operations of the GJOMC.

                              Notice of Acts with Enhanced Sentencing

         89.      Between on or about-June 30, 2015, through on or about July I, 2015, in the

  District of Oregon and the Western Di~trict of Washington, defendants MARK LEROY

  DENCKLAU, EARL DEVERLE FISHER, and RYAN ANTHONY NEGRINELLI, did murder

  Robert Huggins, that is, acting with one or more persons, MARK LEROY DENCKLAU, EARL

  DEVERLE FISHER,.and RYAN ANTHONY NEGRINELLI, committed and attempted to

' commit the crime of kidnapping, in violation of Oregon Revised Statutes, Sections 163.225 and

  163.235, and in the course of and in furtherance of the .crime of kidnapping MARK LEROY

  DENCKLAU, EARL DEVERLE FISHER, and RYAN ANTH<;)NY NEGRINELLI were

  committing and attempting to commit MARK LEROY DENCKLAU, EARL DEVERLE

  FISHER, and RYAN ANTHONY NEGRINELLI and other participants caused the death of

  Robert Huggins, in violation of Oregon Revised Statutes, Sections 163.115(1 )(b) and 161.155;



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 and, under circumstances manifesting. an extreme indifference to human life, MARK LEROY

· DENCKLAU, EARL DEVERLE FISHER, RYAN ANTHONY NEGRINELLI,

               and JOSEPH DUANE"FOLKERTS engaged in conduct which created a grave risk

of death to ~ob~rt Huggins,_and thereby caused ~e death of Robert Huggins, in violation of

Washington Revised Statutes, Sections 9A.32.030(1 )(b) and 9A.08.020; and MARK LEROY

DENCKLAU, EARL DEVERLE FISHER, RYAN ANTHONY NEGRINELLI,

               JOSEPH DUANE FOLKERTS arid other participants committed and atte~pted to

commit the crime of kidnapping in the first and second degree, and in the course of and in

furtherance ·of such crime of kidnapping, MARK LEROY DENCKLAU, EARL DEVERLE

FISHER, RYAN ANTHONYNEGRINELLI,                                              JOSEPH DUANE_

FOL~RTS and other participants caused the death ·of Robert Huggins, in violation of ·

Washington Revised Statutes, Sections 9A.32.030(1)(c)·and 9A.08.020;

       All in violation of Title 18, United States Code, Section 1~62(d).

                                .        COUNT2 .
                              (Murder in Aid of Racketeering)
                          (18 U.S.C. § 1959(a)(l) and 18 U.S.C. § 2)
                                    '
       90.     Paragraphs One through Thirteen ofthis indictment are re-alleged and

incorporated by ~ference as though fully.set forth herein.

       91. .   At all times relevant to this superseding Indictment, the above~described

enterprise, the GJOMC, through its members and associates, ~ngaged in racketeering activity as

defined in Title 18, United States Code, Sections 1959(b)(l) and 1961(1), µamely acts involving

·Murder, in violation.of Oregon Revised.Statutes, Sections 161.450, 161.155, 161.405, and

163.-115, and Revised Code of Washington> Sectio.ns 9A.28.040 9A.08.020, 9A.28.020, and

9A.32.030~ Kidnapping, in violation of Oregon R:evised Statutes, Sections 161.450,.161.155,



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                .                                        .
  161.405, 163.235, and 163.225; and Revised Code of Washington, Sections 9A.28.040,

  9A.08.020, 9A.28.020, 9A.40.020, and 9A.40.030; Robbery, in violation of Oregon Revised

  Statutes, Sections 161.450, 161.155, 161.405, 164.415, and 164.405; and Revised Code of

  Washington, Sections 9A.28.040, 9A.08.020, 9A:56.200, and 9A.56.2IO; and Extortion, in

  violation of Oregon Revised Statutes, Sections 161.450, 161.155, 161.405, and 164.075; offenses

  involving drug trafficking in violation of Title 21, United States, Code Sections 841 and 846; and

  acts indictable under Title 18, United States Code, Section 1512 (relating to tampering with a

 witness, victim, or informant).

         92.        On or between June 30 and July 1, 2015, in the District of Oregon, and Western

 District of Washington, for the purpose of maintaining and increasing position in the GJOMC, an

 enterprise engaged in racketeering activity, the defendants, MARK LEROY DENCKLAU,

 EARL DEVERLE FISHER, RYAN ANTHONYNEGRINELLI,

 and JOSEPH DUANE FOLKERTS, andothers known and unknown to the grandjury, aiding

 and abetting each other, unlawfully and knowingly committed, and aided and abetted the

 commission of, the murder of Robert Huggins, in violation of Oregon Revised Statutes 16L155

 (aid and abet), 163.l 15(1)(a) (Murder) and I63.115(1)(b) (Felony Murder); and Washington

 Revised Statutes 9A.08.020 (Liability for conduct of a:iloth~r~Complicity), and 9A.32.030

 (Murder in first degreelFeiony Murd~r);

         All ip. violation of Title 18, United States Code, Sections 1959(a)(l) and 2.

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· II



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                                          COUNT3
                    (Kidnapping in Aid of Racketeering, Resulting in Death)
                          (18 U.S.C. § 1959(a)(l) and 18 U.S.C. § 2)

        93.     Paragraphs One through Thirteen and paragraph Ninety-one of this indictment are

 re-alleged and incorporated by reference as though fully set forth herein.

        94.     On or between June 30 and July 1, 2015, in the District of Oregon, and Western

. District of Washington, for the purpose of maintaining and increasing position in the GJOMC, an

 enterprise engaged in racketeering activity, the defendants, MARK LEROY DENCKLAU,

 EARL DEVERLE FISHER, RYAN ANTHONY NEGRINELLI,

 and JOSEPH DUANE FOLKERTS, and others known and unknown to the grand jury, aiding

· and abetting each other, unlawfully and knowingly kidnapped Robert Huggins, in violation of

 United States Code Sections 1201(a)(l) and 2; .

        All in violation of 18 U.S.C. Sections 1959(a)(l) and 2.

                                            COUNT4
                                (Kidnapping Resulting in Death)
                                 (18 U.S.C. §§ 1201(a)(l) and 2))

        95.    On or between June 30 and July 1, 2015, in the District of Oregon, and Western

District of Washington, the defendants, MARK LEROY DENCKLAU, EARL DEVERLE

FISHER, RYAN ANTHONY NEGRINELLI,                                               and JOSEPH

DUANE FOLKERTS, and others known and to the grand jury, did unlawfully and willfully

seize, confine, kidnap, inveigle, decoy, abduct and carry away Robert Huggins for the benefit of

the defendants, and, in committing and in furtherance of the commission of the offense, did

willfully transport Robert Huggins in interstate commerce from Portland, Oregon to Woodland,

Washington, and traveled in interstate commerce from Portland, Oregon to Woodland,




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 Washington, and used a telephone, a means, facility, and instrumentality of interstate or foreign

 commerce, which conduct resulted in the death of Robert Huggins;

        All in violation of Title 18, United States Code, Sections 120I(a)(l) and 2.

                                          COUNTS
                    (Conspiracy to Commit Kidnapping, Resulting in Death)
                             (18 U.S.C. §§ 1201(a)(l) and 1201(c))

        96.     On or between June 5 and July 1, 2015, in the District of Oregon, and Western

 District of Washington, defendants MARK LEROY DENCKLAU, EARL DEVERLE FISHER,

 RYAN ANTHONY NEGRINELLI,                                            and JOSEPH DUANE

 FOLKERTS, and others known and unknown to the grand jury, did knowingly combine,

 conspire, confederate, and agree to seize, confine, kidnap, inveigle, decoy, abduct and carry

 away Robert Huggins for the benefit of the defendants, and used a telephone, a means, facility,

and instrumentality of interstate or foreign commerce in furtherance of this offense, which

conduct resulted in the death of Robert Huggins;

        All in violation of Title 18, United States Code, Sections 1201(a)(l) and 1201(c).

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I -




                                    NOTICE OF SPECIAL FINDINGS
                                      (18 U.S.C. §§ 3591 and 3592)

               l_    The Grand Jury incorporates by reference and re-alleges the allegations contained

      in Counts Two and Four of this Indictment and makes the following special findings as to Count

      . Two and Four, the defendants:

                                         MARK LEROY DENCKLAU,
                                          EARL DE\TERLE FISHER,
                                        RYAN ANTHONY NEGRINELLI,

                                                       and

                                         JOSEPH DUANE FOLKERTS,

              a.    · Were 18 years of age or older at the time of the offenses. [Title 18, United States

      Code, Section 3591(a)];

           · · b.   . Intentionally killed the victim, Robert Huggins. [Title 18, United States Code,

      S.ection 3591(a)(2)(A)];

              c.     Intentionally inflicted serious bodily injury that resulted in the death of the victim,

      Robert Huggins. [Title .18, United States Code, Section 3591(a)(2)(B)];

              d.      Intentionally participated in an act, contempl~ting that the life of a person would

      be taken and intending that lethal force would be used in connection with a person, other than .

      one of the participants in. the offense, and the victim, Robert Huggins, died as a direct result of

      the acts. [Title 18, United ~tates Code, Section 3591(a)(2)(C)]; and

              e.     Intentionally and specifically engaged in an act of violence, knowing that the act

      created a grave risk of death to a person, other than one of the participants in the offense, such

      that participation in the act constituted a reckless disregard for human life and the victim, Robert

      Huggins, died as a direct result of the act. [Title 18, United States Code, Section 3591(a:)(2)(D)].



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                                  FORFEITURE ALLEGATION
                                    (Racketeering Conspiracy)

        Upon conviction of an offense in violation of Title 18, United States Code, Section 1962,

 as charged in Count 1. of this.Superseding Indictment, defendants MARK LEROY DENCKLAU,

.. EARL DEVERLE FISHER, KENNETH EARL HAUSE, RYAN ANTHONY NEGRINELLI,

                                and JOSEPH DUANE FOLKERTS, pursuant to Title 18, United

 States Code, Section 1963, shall forfeit-to the United States of Amerjca:

        a.      any interest acquired or maintained in violation of section 1962;

        b.      any interest in, security of, claim against, 01; property or contractual right of any

                kind affording a source of influence over, any enterprise whi<;:h the d~fendants

                established, operated, controlled, conducted, cir participated in the conduct of, in

                violation of section 1962; and

        c.     . any property constituting, or derived from, any proceeds obtained, directly or

                indirectly, from racketeering activity or unlawful debt collection in violation of

                1962,

 including, but not limited to a Money Judgment in amount to be determined to be the aggregate

 value of the property described in a through. c above. If any of the property described above, as a

 result of any act or omission of the defendants:

        a.      cannot be lo.cated upon the exercise of due diligence;


        b.     · has b~en transferred or sold to, or deposited with, a third party;


        c.      has been placed beyond the jurisdiction of the court; .


        d. ·    has been substantially diminished in value; ·or




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               e.       has been_ commingled with other property which cannot be divided without

                        tjifficulty,

        the United States of America shall be entitled to forfeiture of.substitute property pursuant to Title

        18, United States Code, Section 1963(m}




        Dated: November~ 2018.

                                                              A TRUE BILL.




        Presented by:

        BILLY j_ WILLJAMS                                     DAVID L. JAFFE
                                                              C b i e f ~ g S.ection
'   i
1.; .


                                                             REBECCA A. STATON, INB #2286.1-49-
                                                             Trial Attorney




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